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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               SOUTHERN DIVISION

STATE OF TENNESSEE, STATE OF MIS-               )
SISSIPPI, STATE OF ALABAMA, STATE               )
OF GEORGIA, STATE OF INDIANA,                   )
STATE OF KANSAS, COMMONWEALTH                   )
OF KENTUCKY, STATE OF LOUISIANA,                )
STATE OF NEBRASKA, STATE OF OHIO,               )
STATE OF OKLAHOMA, STATE OF                     )
SOUTH CAROLINA, STATE OF SOUTH                  )
DAKOTA, COMMONWEALTH OF VIR-                    )
GINIA, AND STATE OF WEST VIRGINIA,              )
                                                )
       Plaintiffs,                              )   Civil Action No. 1:24-cv-161-LG-BWR
                                                )
 v.                                             )
                                                )
 XAVIER BECERRA, in his official capacity       )
 as Secretary of the United States Department   )
 of Health and Human Services; UNITED           )
 STATES DEPARTMENT OF HEALTH                    )
 AND HUMAN SERVICES; MELANIE                    )
 FONTES RAINER, in her official capacity as     )
 the Director of the Office for Civil Rights;   )
 CENTERS FOR MEDICARE AND MEDI-                 )
 CAID SERVICES; and CHIQUITA                    )
 BROOKS-LASURE, in her official capacity
                                                )
 as Administrator of the Centers for Medicare
                                                )
 and Medicaid Services,
                                                )
      Defendants.                               )


                  MEMORANDUM IN SUPPORT OF PLAINTIFFS’
            MOTION FOR § 705 RELIEF AND A PRELIMINARY INJUNCTION
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                                        INTRODUCTION

        The Affordable Care Act (“ACA”) prohibits discrimination “on the basis of sex” in healthcare

by incorporating Title IX’s nondiscrimination provision into Section 1557. In recent years, the De-

partment of Health and Human Services (“HHS”) has twice tried to extend that prohibition to en-

compass gender identity. Courts ruled both attempts unlawful. Hoping the third time is the charm,

HHS issued a new rule that (again) interprets Section 1557 to include several gender-identity mandates.

89 Fed. Reg. 37,522 (May 6, 2024) (“2024 Rule”). But this rule is as legally flawed as its predecessors,

and then some. The States now seek preliminary relief to prevent the significant and irreparable fallout

from HHS’s unlawful power grab.

        The States satisfy the factors for preliminary relief. The States are likely to succeed on the

merits because the 2024 Rule is plainly unlawful. Neither Section 1557 nor Title IX’s protection for

“sex” confers protections for gender identity, period—let alone in the unprecedented manner the

2024 Rule suggests. Nor do those statutes allow HHS to usurp the States’ role as the primary regulator

of medicine by saddling States and medical providers with an obligation to permit and provide risky

treatments against the weight of medical evidence and judgment. At minimum, HHS’s new mandates

cannot pass Spending Clause muster, since the ACA does not unambiguously authorize HHS’s new

gender-identity mandates and cannot constitutionally coerce States’ compliance by threatening to

withhold significant portions of their budgets. And HHS acted arbitrarily and capriciously by, among

other things, failing to adequately consider the extent to which its gender-affirming-care mandates

undermine the provision of sound medical treatment.

        The irreparable-harm implications of HHS’s 2024 Rule are staggering. The Rule will inflict

unrecoverable compliance costs and unlawful displacement of the States’ duly enacted laws protecting

children. The rule overrides the States’ regulation of medical care—a core sovereign function. It

prohibits healthcare facilities from maintaining sex-segregated spaces. It requires healthcare providers

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to engage in unproven and risky treatments for gender dysphoria, even if the treatment is against their

best medical judgment. It forces States and other insurers to subsidize experimental procedures. And

if a State or healthcare provider balks at HHS’s gender-identity agenda, they risk losing all federal

funding. For the States, the funding loss could amount to hundreds of billions of dollars.

         The equities and public interest likewise favor temporarily maintaining the status quo pending

review of HHS’s Rule. HHS cannot credibly claim a need to rush through a mandate based on argu-

ments courts have twice rejected as legally unsound. If anything, the balance of equities favors per-

mitting Plaintiff States to continue enforcing laws that protect vulnerable citizens from risky medical

procedures that can inflict life-long harms, including infertility, loss of sexual function, and increased

risks of cardiovascular disease and cancer. This Court should grant preliminary relief.

                                           BACKGROUND

    I.      The Affordable Care Act Prohibits Sex Discrimination.

         In 2010, Congress enacted the ACA. That law includes a nondiscrimination provision, com-

monly referred to as Section 1557, that prohibits discrimination in “any health program or activity,

any part of which is receiving Federal financial assistance[.]” 42 U.S.C. § 18116(a). Rather than cre-

ating any new bases of unlawful discrimination, “Congress incorporated [into Section 1557] the legal

standards that define discrimination under” existing federal laws. Doe v. BlueCross BlueShield of Tenn.,

Inc., 926 F.3d 235, 238 (6th Cir. 2019). For sex discrimination, Section 1557 cross-references the

provisions of Title IX. 42 U.S.C. § 18116(a); see also 20 U.S.C. § 1681, et seq. (prohibiting discrimination

“on the basis of sex” in education context). No other provision in the ACA bars sex discrimination,

and nothing in Section 1557 prohibits discrimination on the basis of gender identity.

         Section 1557’s nondiscrimination mandate applies to what HHS calls “covered entities.” Cov-

ered entities include hospitals, clinics, and doctors that accept patients paying for services through

federal financial assistance programs, as well as state-sponsored health programs that receive federal


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financial assistance—like Medicaid and the Children’s Health Insurance Program (“CHIP”). See 89

Fed. Reg. at 37,694. According to HHS, if “any part” of an entity participates in these financial assis-

tance programs, then the entire entity must comply with Section 1557’s restrictions. Id. at 37,693.

         When enacting the ACA, Congress explicitly maintained the States’ traditional power to regu-

late the medical field. See, e.g., 42 U.S.C. § 18122(1) (specifying that nothing in the Act “shall be

construed to preempt any State or common law governing medical professional … actions or claims”

or “to establish the standard of care or duty of care owed by a health care provider to a patient”). It

further limited HHS’s ability to interfere with providers’ power to practice medicine consistent with

their ethical and evidence-based obligations. For example, “[n]otwithstanding any other provision”

of the ACA, HHS “shall not promulgate any regulation” that, inter alia: “impede[s] timely access to

health care services”; “interferes with communications regarding a full range of treatment options

between the patient and provider”; “restricts the ability of health care professionals to provide full

disclosure of all relevant information to patients making health care decisions”; or “violates the prin-

ciples of informed consent and the ethical standards of health care professionals.” Id. § 18114(2)-(5).

   II.       Unproven and Risky Gender-Transition Medical Interventions Stir Debate.

         Sex “is an immutable characteristic,” Frontiero v. Richardson, 411 U.S. 677, 686 (1973) (plurality),

that refers to “male or female according to their reproductive organs and functions assigned by the

chromosomal complement,” Institute of Medicine, Exploring the Biological Contributions to Human Health:

Does Sex Matter? 1 n.1 (2001), https://doi.org/10.17226/10028. By contrast, “gender identity” refers

to an “individual’s internal sense of gender, which may be male, female, neither, or a combination of

male and female.” 81 Fed. Reg. 31,376, 31,467 (May 18, 2016) (“2016 Rule”) (emphasis added).

         In rare cases, a person’s gender identity does not align with his or her sex. See 87 Fed. Reg.

47,824, 47,831 n.75 (Aug. 4, 2022) (“NPRM”). And in a subset of those few cases, individuals report

a “persistent sense of discomfort” caused by that incongruence. L.W. ex rel. Williams v. Skrmetti, 83

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F.4th 460, 466-67 (6th Cir. 2023). This condition is now known as “gender dysphoria.” Id. at 466.

While reported rates of gender dysphoria historically have been very low, they have spiked in recent

years—particularly among teens. See Report of Dr. Stephen Levine 13-14, 35, 49 (Feb. 23, 2022) in

Attach. to Cmts. of Alliance Defending Freedom, Factual Evidence, HHS-OS-2022-0012-68192. For

children not started down the path to transitioning, gender dysphoria typically resolves during pu-

berty. Id. at 40-42. Thus, “[w]atchful waiting” has long served as the “standard approach” for ad-

dressing the condition in minors. Id. at 17-19. Physicians did not offer to minors “what the medical

profession has come to call gender-affirming care” until the late 1990s. L.W., 83 F.4th at 467.

             A. New “gender-transition” protocols emerge.

         Medical interest groups—like the World Professional Association for Transgender Health

(“WPATH”) and the Endocrine Society—recently have advocated for treating gender dysphoria in

both adults and children through a protocol of social, chemical, and surgical transition designed to

align their physical appearance and behavior with their gender identity: so-called “gender-affirming

care.”1 The gender-transition protocol embraced by these groups proceeds in four escalating steps:

(1) social transition with mental health treatment; (2) puberty blockers (for those who have not com-

pleted puberty); (3) cross-sex hormones; and (4) gender-transition surgery. See Jason Rafferty, et al.,

Ensuring Comprehensive Care and Support for Transgender and Gender-Diverse Children and Adolescents, 142 Pe-

diatrics 1, 6-7 (2018); see WPATH 7 at 57; WPATH 8 at S258, App’x E.

         The “standards” pushed by WPATH have become more aggressive over time. Compl. ¶¶ 85-

86. Indeed, WPATH’s latest set of “standards” removes all minimum-age requirements for cross-sex

hormones and all gender-transition surgeries except for phalloplasty (constructing a penis-like


1 See WPATH, Standards of Care for the Health of Transgender and Gender Diverse People, Version 8, 28 Int’l J. of

Transgender Health S1 (2022) (“WPATH 8”); WPATH, Standards of Care for the Health of Transsexual, Transgender,
and Gender-Nonconforming People, Version 7 (2012), HHS-OS-2022-0012-4074 (“WPATH 7”); Hembree, et al.,
Endocrine Treatment of Gender-Dysphoric/Gender-Incongruent Persons: An Endocrine Society Clinical Practice Guideline, 10
J. Clin. Endocrinol Metab. 3869, 3896 (2017), HHS-OS-2022-0012-4060 (“Endocrine Society Guideline”).
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structure using skin tissue). WPATH 8, at S43-79. According to WPATH, “medically necessary”

“gender-affirming surgical procedures,” include “[m]astectomy” (removal of breasts), “[o]rchiectomy”

(removal of testicles), and “vaginoplasty” (replacing male genitalia with a neovagina constructed from

repurposed tissue), to name only a few. WPATH 8 at S18, S128. These medical interventions, coupled

with other components of WPATH’s “gender-affirming” protocol, pose significant health risks and

carry lifelong consequences, including sterilization, loss of sexual function, decreased bone density,

increased risks of cardiovascular disease and cancer, negative psychological consequences, and a life-

long dependence on hormone drugs. Compl. ¶¶ 87-104.

          B. Clinicians and researchers raise concerns about the risks of these interventions.

        “[N]o one disputes” that the above-mentioned treatments for gender dysphoria “carry risks

or that the evidence supporting their use is far from conclusive.” L.W., 83 F.4th at 489. As WPATH

has acknowledged, “no controlled clinical trials of any feminizing/masculinizing hormone regimen

have been conducted to evaluate the safety or efficacy in producing physical transition.” WPATH 7

at 47. No reliable studies demonstrate that medical gender transition lowers suicide rates, nor is there

reliable evidence that medical transition improves long-term mental health relative to other treatments

lacking medical risk. See Compl. ¶ 99 (collecting sources). Even HHS has acknowledged the lack of

“high quality evidence” to support the efficacy of gender-transition interventions. See id. ¶ 101.

        Given the inherent risks of medical gender transition, researchers and health professionals

have expressed increasing concern about allowing adolescents to access these interventions because

they often “lack the capacity to consent to such a significant and potentially irreversible treatment.”

L.W., 83 F.4th at 488. With increasing frequency, detransitioners have come forward describing their

regret for undergoing irreversible transitions. Id. at 487; Levine, supra, at 42-45. And recently leaked

internal files from WPATH have only further demonstrated that the group “is neither scientific nor

advocating for ethical medical care.” Environmental Progress, The WPATH Files, Pseudoscientific

                                                   5
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Surgical and Hormonal Experiments on Children, Adolescents, and Vulnerable Adults (Mar. 4, 2024),

https://perma.cc/4ZCW-FF23. WPATH-affiliated doctors have violated their “ethical requirement

to obtain informed consent,” with “members admitting that children and adolescents cannot compre-

hend the lifelong consequences” of “gender-affirming care.” Id.

        Citing these concerning dynamics, some of the same “countries that pioneered these treat-

ments now express caution about them and have pulled back on their use.” L.W., 83 F.4th at 477.

The “public healthcare entities of Sweden, Finland, France, Australia, New Zealand, and the United

Kingdom have raised concerns about the risks associated with puberty blockers and cross-sex hor-

mone treatment and supported greater caution and/or more restrictive criteria in connection with

such interventions.” Eknes-Tucker v. Gov. of Ala., 80 F.4th 1205, 1218 (11th Cir. 2023). For example,

the United Kingdom has restricted puberty blockers after finding the evidence inadequate to conclude

they are safe and effective to treat gender dysphoria. B.P.J. ex rel. Jackson v. W. Va. State Bd. of Educ.,

98 F.4th 542, 570 n.7 (4th Cir. 2024) (Agee, J., concurring in part and dissenting in part).

            C. States regulate gender-transition interventions to protect their citizens.

         Tracking the developing international consensus, more than twenty States have restricted

 access to gender-transition interventions for children. L.W., 83 F.4th at 471 (collecting state stat-

 utes). For example, in 2023, Tennessee adopted SB1, which prohibits certain medical procedures—

 including surgeries and hormone treatments—on a minor “for the purpose of” either (1) “[e]nabling

 a minor to identify with, or live as, a purported identity inconsistent with the minor’s sex” or

 (2) “[t]reating purported discomfort or distress from a discordance between the minor’s sex and

 asserted identity.” Tenn. Code Ann. §§ 68-33-102(5), 68-33-103(a)(1). Mississippi similarly prohibits

 such medical procedures on a minor “for the purpose of assisting [that] individual with a gender

 transition.” Miss. Code Ann. § 41-141-3(d)-(f); see id. § 41-141-5. And other Plaintiff States have

 adopted similar restrictions for minors. See Compl. ¶¶ 126-28, 130-36.

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          States also have adopted limitations on the coverage of gender-transition interventions in their

Medicaid programs and other state-sponsored health plans. For instance, Tennessee’s Medicaid pro-

gram and its CHIP program do not cover “sex change or transformation surgery.” Id. ¶¶ 111-13.

Subject to limited exceptions, those programs also exclude coverage for “cosmetic surgery or surgical

procedures [performed] primarily for the purpose of changing the appearance of any part of the body

to improve appearance or self-esteem.” Id. ¶¶ 112-13. Tennessee’s state-employee health plan has

also long excluded coverage for gender-transition procedures. Id. ¶¶ 114-16.

          Mississippi likewise limits access to gender-transition interventions through its state-spon-

sored health plans. Mississippi’s Medicaid and CHIP programs do not cover procedures “performed

primarily to improve physical appearance and/or to treat a mental condition through change in bodily

form.” Id. ¶¶ 120-21. They also exclude coverage if the service is “experimental, investigational, or

cosmetic in nature.” Id. And the Division of Medicaid is prohibited by statute from “reimburs[ing]

or provid[ing] coverage” for certain “gender transition procedures” for minors. See id. ¶ 122. Addi-

tionally, Mississippi’s state-employee health plan excludes coverage for “[s]ex transformations” and

“[p]uberty-blocking drugs,” as well as most “cosmetic services.” See id. ¶¶ 123-25. And other Plaintiff

States implement similar exclusions. See id. ¶¶ 126, 129, 132-33, 135.

   III.       HHS Imposes Federal Gender-Identity Mandates in Healthcare.

          In 2016, HHS issued a rule interpreting sex discrimination under Section 1557 to encompass

discrimination based on “gender identity.” 2016 Rule, 81 Fed. Reg. at 31,387-88. But a federal district

court found that interpretation unlawful, concluding that Title IX did not allow HHS’s expanded

definition of sex discrimination. See Franciscan All., v. Burwell, 227 F. Supp. 3d 660, 687, 689 (N.D.

Tex. 2016). After Bostock v. Clayton County, Georgia, 590 U.S. 644 (2020), HHS rolled out a series of

guidance documents again interpreting Section 1557 to prohibit discrimination based on “gender iden-

tity” and promoting treatment guidelines from the Endocrine Society and WPATH for “children and

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adolescents.” See Compl. ¶¶ 148-50. That effort was also set aside as unlawful after a court recognized

that Bostock did not support HHS’s interpretation. See Neese v. Becerra, 640 F. Supp. 3d 668, 675-84

(N.D. Tex. 2022); see also Texas v. EEOC, 633 F. Supp. 3d 824, 838, 847 (N.D. Tex. 2022).

        Undeterred, on May 6, 2024, HHS finalized the 2024 Rule, renewing its efforts to interpret

Section 1557 to protect “gender identity.” Without defining “sex,” 89 Fed. Reg. at 37,575, HHS

interprets “[d]iscrimination on the basis of sex” to include, among other things, discriminating based

on “[g]ender identity.” Id. at 37,699. Threatening the loss of HHS funding for noncompliance, the

2024 Rule also dictates healthcare-facility operations, imposes a national standard of care for gender

dysphoria, and requires insurers—including States—to cover so-called “gender-affirming care.” Id.

at 37,701. The 2024 Rule likewise adds controversial prohibitions against discriminating based on

gender identity in the Medicaid and CHIP regulations. Id. at 37,667-68.

        Under the 2024 Rule, no health facility may “[a]dopt or apply any policy or practice” that

“prevents an individual from participating in a health program or activity consistent with the individ-

ual’s gender identity,” if doing so causes that individual more than de minimis harm. Id. at 37,701. And

“de minimis harm” is a low bar: HHS suggests that merely “experiencing … distress” is enough to cross

that threshold. Id. at 37,593. For example, according to HHS, refusing to place a male who identifies

as a woman in an “intimate space,” like a hospital room, with a female “would result in more than de

minimis harm” and trigger a “violation.” Id.; NPRM, 87 Fed. Reg. 47,866-67 (same).

        And despite the raging debate over the efficacy of gender-transition interventions, the 2024

Rule establishes WPATH’s protocol as the federal standard of medical care. See NPRM, 87 Fed. Reg.

at 47,868 & n.423 (asserting covered entities “should follow clinical practice guidelines and profes-

sional standards of care” and citing WPATH). The 2024 Rule makes it presumptively discriminatory

for covered entities, such as hospitals, clinics, medical practices, and pharmacies, to “[d]eny or limit”

puberty blockers, cross-sex hormones, or surgeries “sought for purpose of gender transition,” so long

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as those entities provide the services for “other purposes.” 89 Fed. Reg. at 37,701. For example, if a

surgeon performs a mastectomy to treat breast cancer, he is presumptively required to remove healthy

breasts for the purpose of “gender transition.” Id.; see also NPRM, 87 Fed. Reg. at 47,867.

        A covered entity that refuses to further a patient’s gender transition may avoid sanctions only

if HHS deems a refusal “clinically appropriate for a particular individual.” 89 Fed. Reg. at 37,701 (em-

phasis added). But HHS views this exception narrowly. See id. at 37,607 (suggesting HHS would not

require a doctor to provide “a prostate exam for a transgender man who does not anatomically have

a prostate”). And the rule’s requirement of “individualized clinical judgment,” id. at 37,575, 37,595-97

(emphasis added), precludes any general policy against gender-transition interventions based on con-

cerns about the efficacy and safety of those procedures. See id. at 37,613 (suggesting that non-WPATH

standards “may be considered evidence of pretext for discrimination”). Providers may not even refer

to gender-transition interventions as “experimental or cosmetic … because this characterization is

not based on current standards of medical care,” as established by WPATH. NPRM, 87 Fed. Reg. at

47,874 c.f. id. at 47,868 & n.423 (citing WPATH’s standards as “clinical practice guidelines and pro-

fessional standards of care”). Even a provider who declines treatment to minors under state laws

prohibiting such treatment would engage in “prohibited discrimination on the basis of sex” under the

rule. Id.; see 89 Fed. Reg. at 37,535 (purporting to “preempt” any conflicting state law).

        The 2024 Rule also requires States and insurers to subsidize gender transitions. See 89 Fed.

Reg. at 37,701. According to HHS, it is presumptively discriminatory for covered insurers—including

States—to deny or limit “coverage of a claim,” or impose “additional cost sharing or other limitations

or restrictions on coverage, for specific health services related to gender transition” if doing so “results

in discrimination on the basis of sex.” Id. (emphasis added); see also id. at 37,691 (requiring Medicaid

service contracts to prohibit policies or practices with a discriminatory “effect” on “gender identity”).

And while an insurer or State may avoid sanctions by showing that there was no “medical necessity”

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in a particular case, the 2024 Rule prohibits a “categorical coverage exclusion … for all health services

related to gender transition.” Id. at 37,701. Failing to comply with the 2024 Rule puts the States’

federal funding at risk, including Medicaid funding. 45 C.F.R. §§ 80.8, 92.303.

                                              ARGUMENT

         Plaintiffs seek a preliminary injunction and relief pending review under 5 U.S.C. § 705. Both

 routes to relief allow a court to “preserve status or rights pending” completion of the proceedings by

 pausing the effect of an agency action. 5 U.S.C. § 705; see also Fed. R. Civ. P. 65(c). Courts consider

 four factors in determining whether preliminary relief is appropriate: (1) whether the moving party

 has shown a likelihood of success on the merits; (2) whether the moving party will be irreparably

 injured absent an injunction; (3) whether issuing an injunction will harm other parties to the litigation;

 and (4) whether an injunction is in the public interest. United States v. Texas, 97 F.4th 268, 274 (5th

 Cir. 2024) (citation omitted); see also Career Colleges & Schs. of Tex. v. U.S. Dep’t of Educ., 98 F.4th 220,

 233, 255-56 (5th Cir. 2024) (granting relief under 5 U.S.C. § 705). Each factor supports relief here.

I.      Plaintiffs Are Likely to Succeed on the Merits.

            A. The 2024 Rule is contrary to law and exceeds HHS’s statutory authority.

        A federal agency’s “power to act and how [it is] to act is authoritatively prescribed by Con-

gress.” City of Arlington v. FCC, 569 U.S. 290, 297 (2013). Thus, “an agency may not rewrite clear

statutory terms to suit its own sense of how the statute should operate.” Util. Air Reg. Grp. v. EPA,

573 U.S. 302, 328 (2014). Nor may an agency “confer power upon itself.” La. Pub. Serv. Comm’n v.

FCC, 476 U.S. 355, 374 (1986). Yet, in the 2024 Rule, HHS attempts to shoehorn “gender identity”

into Section 1557’s prohibition against sex discrimination, and it attempts to pervasively regulate the

practice of medicine—a matter within the traditional authority of the States—without congressional

authorization. Because the 2024 Rule exceeds HHS’s “statutory jurisdiction [or] authority” and is

“otherwise not in accordance with law,” it should be set aside. 5 U.S.C. § 706(2)(A), (C).


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                       1. The 2024 Rule unlawfully defines “on the basis of sex.”

        1. The 2024 Rule exceeds HHS’s statutory authority because it regulates based on the view

that “on the basis of sex” protects gender identity. Neither Section 1557 nor Title IX mentions “gen-

der identity” as a protected category. Instead, Congress expressly limited the statutes’ coverage to

discrimination “on the basis of sex.” 42 U.S.C. § 18116(a) (incorporating 20 U.S.C. § 1681, et seq.).

And “traditional tools of statutory interpretation” uniformly confirm that conflating “gender identity”

with “sex” is “contrary to the clear meaning of” Title IX. Arangure v. Whitaker, 911 F.3d 333, 336 (6th

Cir. 2018) (quotations omitted). As evidenced by dictionary definitions at the time of Title IX’s en-

actment—coupled with the novelty of the term “gender identity” in the early 1970’s, see Compl. ¶¶ 51,

54—the “ordinary meaning” of “sex” in Title IX clearly refers to the biological binary of “male” and

“female.” Adams ex rel. Kasper v. Sch. Bd. of St. Johns Cnty., 57 F.4th 791, 812 (11th Cir. 2022) (collecting

definitions); see also Artis v. District of Columbia, 583 U.S. 71, 83 (2018) (requiring courts interpreting a

statutory provision to “giv[e] the words used their ordinary meaning”).

        As numerous courts have recognized, Title IX allows sex-based distinctions when the sexes

are not similarly situated and allows the application of sex-based policies to transgender persons. Ad-

ams, 57 F.4th at 812-15; D.H. ex rel A.H. v. Williamson Cnty. Bd. of Educ., 638 F. Supp. 3d 821, 835-36

(M.D. Tenn. 2022). It makes perfect sense to import that understanding of “sex”—and sex discrimi-

nation—into Section 1557 because, much like in the educational context where differential treatment

based on sex may be warranted (e.g., facilities, sports teams), healthcare also implicates different risks

and treatments based on biological realities that differ between men and women.

        Consider Adams. The transgender plaintiff there argued that separating bathrooms based on

sex, and thus denying access to a bathroom consistent with an individual’s “gender identity,” was

discriminating based on sex under Title IX. 57 F.4th at 811. But the court explained that “the statu-

tory context of Title IX” required a different result. Id. at 813. For example, conflating “sex” with

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“gender identity” would “render[] meaningless” Title IX’s express allowance of “‘separate living facil-

ities for the different sexes’” because “transgender persons—who are members of the female and

male sexes by birth—would be able to live in both living facilities associated with their biological sex

and living facilities associated with their gender identity or transgender status.” Id. (quoting 20 U.S.C.

§ 1686). “That conclusion cannot comport” with Title IX. Id. at 814. The same would go for the

many sex-based distinctions appearing throughout Title IX and the original implementing regulations.

See, e.g., 20 U.S.C. § 1681(a)(6)-(9); 34 C.F.R. § 106.33-.34 (2023).

        Structural features of the ACA further undermine HHS’s interpretation. For example, the

statute elsewhere references “different genders and sexual orientations,” see 42 U.S.C. § 294e-1(b)(2),

signaling that if Congress wished to prohibit gender-identity discrimination in Section 1557, it knew

how to do so.2 See Russello v. United States, 464 U.S. 16, 23 (1983) (“Where Congress includes particular

language in one section of a statute but omits it in another section of the same Act, it is generally

presumed that Congress acts intentionally and purposely in the disparate inclusion or exclusion.”).

        2. The 2024 Rule nonetheless states that “sex” discrimination prohibited by Title IX—and

incorporated into Section 1557—includes discrimination based on “gender identity.” 89 Fed. Reg.

37,698-99. HHS relies on Bostock for this result. But Bostock was a narrow decision limited to Title

VII that expressly declined to “prejudge” other nondiscrimination laws, like Title IX and Section 1557,

or whether its ruling affected common practices like sex-separated “bathrooms.” 590 U.S. at 681.

“[T]he Court in Bostock was clear on the narrow reach of its decision and how it was limited only to

Title VII itself.” Pelcha v. MW Bancorp, Inc., 988 F.3d 318, 324 (6th Cir. 2021) (declining to apply Bostock


2 Having flunked every traditional tool of statutory interpretation, HHS’s misinterpretation of Title IX and

Section 1557 cannot be saved by Chevron deference. HHS’s reading falls outside the range of reasonable inter-
pretations of the statutory text because it purports to resolve a policy issue of major political significance with-
out clear congressional authority, see West Virginia v. EPA, 597 U.S. 697, 721-24 (2022), and it fails to construe
“on the basis of sex” “to avoid serious constitutional doubts,” Brawner v. Scott Cnty., 14 F.4th 585, 592 n.2 (6th
Cir. 2021) (citation omitted). Also, Chevron was wrongly decided. See Loper Bright Enters. v. Raimondo (U.S., No.
22-451) (argued Jan. 17, 2024) (reconsidering Chevron).
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to the “because of” nondiscrimination provision in the Age Discrimination in Employment Act).

Thus, courts have declined to extend Bostock beyond its narrow holding. See, e.g., id.; L.W., 83 F.4th at

484; Neese, 640 F. Supp. 3d at 676.

        That makes sense. The legal theory of Bostock is inapposite to the “discrimination” inquiry

presented in Title IX. Whereas Title VII prohibits certain actions “because of … sex,” full stop, 42

U.S.C. § 2000e-2, Title IX explicitly permits separation “on the basis of sex” in numerous circumstances,

20 U.S.C. § 1681(a)(1)-(9). Indeed, Title IX states that its prohibition on “discrimination” “on the

basis of sex,” id. § 1681(a), shall not be construed to prohibit the “maintain[ance of] separate living

facilities for the different sexes,” id. § 1686. And Title IX’s implementing regulations specifically allow

institutions to “operate or sponsor separate teams for members of each sex where selection for such

teams is based upon competitive skill,” like golf, “or the activity is a contact sport.” 34 C.F.R.

§ 106.41(b). “Title IX is clear that not all differentiation based on sex is impermissible discrimination.”

D.H., 638 F. Supp. 3d at 835 (emphasis added).

        HHS cannot avoid this outcome by arguing that by referencing “the ground prohibited under

… title IX,” Section 1557 adopts only the provision barring sex discrimination, divorced from the

bevy of surrounding provisions that allow for differential treatment of the sexes, see Compl. ¶¶ 52-53

(collecting cites), defining what sex discrimination means in context. See NPRM, 87 Fed. Reg. at

47,839 (emphasis added). For one, by using “et seq.” when incorporating Title IX, Congress clearly

intended Section 1557 to incorporate all of Title IX. Et seq., Black’s Law Dictionary (11th ed. 2019)

(“And those (pages or sections) that follow”). Second, Title IX’s separate provisions (like 20 U.S.C.

§ 1686) inform how courts construe what constitutes sex discrimination under the statute. And third,

HHS acknowledges that Section 1557 “incorporate[s] existing interpretations or what constitutes sex

discrimination under title IX, including … case law,” like Adams, Neese, and D.H., that have concluded

that gender identity is not covered by Title IX. 89 Fed. Reg. at 37,638.

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        HHS also errs in invoking Bostock’s proposition that “discrimination based on … transgender

status necessarily entails discrimination based on sex.” 590 U.S. at 669; 89 Fed. Reg. at 37,573-75.

HHS’s position actually rests on the inverse of Bostock: Their argument is not that “discrimination

based on … transgender status necessarily entails discrimination based on sex,” id., but that recogni-

tion of biological sex differences “necessarily entail[]” discrimination based on transgender status.

Under basic logic, the fact that B follows A (A→B) does not mean that A follows B (B→A). And

nothing in Bostock—or in Title IX—supports the logically distinct and clearly flawed theory that any

action that takes into account biological sex differences necessarily takes cognizance of gender identity.

        3. But even if Section 1557 incorporates only Title IX’s prohibition against discrimination “on

the basis of sex” and not its other provisions, and even if Bostock bore on the meaning of that statutory

phrase, the 2024 Rule would still fail. Bostock reiterated what blackletter discrimination law holds: “To

‘discriminate against’ a person” is “treating that individual worse than others who are similarly situated.”

590 U.S. at 657 (emphasis added). There, the Court assessed an employee’s termination “simply for

being … transgender.” Id. at 650. Being fired is a quintessential form of worse treatment, so “dis-

crimination” was a given. The “similarly situated” prong was likewise satisfied, given the Court’s

conclusion that “[a]n individual’s homosexuality or transgender status is not relevant to employment

decisions” about hiring and firing. Id. at 660.

        By contrast, a State plainly does not “discriminate” based on sex—i.e., treat any person worse

than a similarly situated comparator—when it forbids hormonal treatments and surgeries for the pur-

pose of gender transition. See L.W., 83 F.4th at 480-83; Eknes-Tucker, 80 F.4th at 1228; see also Lange

v. Houston Cnty., 101 F.4th 793, 803 (11th Cir. 2024) (Brasher, J., dissenting); Kadel v. Folwell, 100 F.4th

122, 171-74, 177 n.19 (4th Cir. 2024) (Richardson, J., dissenting). The availability of these interven-

tions instead turns on “the risk-reward assessment of treating this medical condition (as opposed to

another) with these procedures.” L.W., 83 F.4th at 483. A restriction on access to gender-transition

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interventions does not “establish an unequal regime for males and females” because it “applies equally

to both sexes.” Eknes-Tucker, 80 F.4th at 1228.

        For example, a provider who performs a mastectomy to treat breast cancer but refuses to

remove healthy breast tissue from a woman who identifies as a man is acting based on the patient’s

differential medical condition or diagnosis, not sex. Put differently, removing cancer tissue is not “to

[the doctor’s mind], materially identical in all respects” to removing healthy tissue for the purpose of

gender transition. Bostock, 590 U.S. at 660. That is because in medicine, as in pharmacy, the “thera-

peutic purpose” is material to a course of treatment. FDA v. Brown & Williamson Tobacco Corp., 529

U.S. 120, 142-43 (2000). Because the medical diagnoses are different, not materially identical, there is

no intentional sex discrimination. See Eknes-Tucker, 80 F.4th at 1228. For purposes of these medical

treatments, females who identify as males are not “similarly situated” to males, and males who identify

as females are not “similarly situated” to females, so there is no discrimination.

        Insurers may have another reason to refuse to cover gender-transition interventions. “Sex

change surgeries are a suite of medical procedures that can vary in their purpose, cost, and complex-

ity.” Lange, 101 F.4th at 802 (Brasher, J., dissenting). Given the high costs of these procedures—

particularly when performed for the purposes of gender transition—insurers, including States, can

make the rational decision to “cover[] medically necessary treatments but exclude[] particularly expen-

sive, top-of-the-line procedures.” Id. In that case, an individual’s “sex is not relevant to the [State’s]

insurance at all. All that matters is whether [the individual] is asking the insurer to pay for a constel-

lation of medical procedures known as a ‘sex change.’” Id. at 804. Moreover, the “constellation of

procedures that are needed for a male-to-female sex change are unique and not medical procedures

that a natal woman could ever undergo.” Id. at 806 (explaining a “vaginoplasty” performed on a natal

man is different in kind from a vaginoplasty performed on a natal woman). So “changing the [indi-

vidual’s] sex” would not “yield[] a different” coverage choice by the insurer—meaning such a policy

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passes Bostock’s “simple test” for discrimination. See id. (citations omitted).

        Nor is it relevant that “transgender individuals [purportedly] are the only individuals who seek

transition-related care.” NPRM, 87 Fed. Reg. at 47,871. Title IX prohibits only “intentional sex

discrimination.” Jackson v. Birmingham Bd. of Educ., 544 U.S. 167, 173 (2005). “[T]he regulation of a

course of treatment that only gender nonconforming individuals can undergo” does not discriminate

based on “sex” “unless the regulation were a pretext for invidious discrimination against such individ-

uals.” Eknes-Tucker, 80 F.4th at 1229-30; see also Dobbs v. Jackson Women’s Health Org., 597 U.S. 215, 236

(2022). But gender-transition interventions are not “such an irrational object of disfavor” that there

must be intentional discrimination on the basis of gender nonconformity. Bray v. Alexandria Women’s

Health Clinic, 506 U.S. 263, 270 (1993); see United States v. Des Moines Nav. & Ry. Co., 142 U.S. 510, 544

(1892) (recognizing presumption of good faith).

        “The unsettled, developing, in truth still experimental, nature of treatments in this area surely

permits more than one policy approach.” L.W., 83 F.4th at 488. That is even more true as evidence

mounts against the safety and efficacy of these interventions. Compl. ¶¶ 87-104. And where, as here,

State health plans cover certain treatments for gender dysphoria—e.g., psychological treatment—there

is “a reasonable inference that there is a ‘but for’ cause other than transgender status for the plan to decline

coverage” for expensive and risky interventions. Lange, 101 F.4th at 805 (Brasher, J., dissenting). In

other words, “the plan draws the line between sex-change [interventions]” and other procedures, not

“between procedures transgender people need and procedures that other people need.” Id.

        In sum, the 2024 Rule’s redefinition of sex discrimination in Section 1557 to encompass “gen-

der identity” has no basis in the statutory text. Bostock lends HHS no support. And the 2024 Rule’s

“sex-classification argument … does not work on its own terms.” L.W., 83 F.4th at 483. Thus, the

2024 Rule can only be understood as promoting the Biden Administration’s policy priority to read

“gender identity” protections into nondiscrimination provisions at all costs. See also, e.g., 89 Fed. Reg.

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40,066, 40,068-69 (May 9, 2024) (HHS rule holding that gender dysphoria constitutes a disability under

the Rehabilitation Act (which is also incorporated into Section 1557), even though that statute explicitly

excludes from its scope “transsexualism” and “gender identity disorders not resulting from physical

impairments,” 42 U.S.C. § 12211). But “an agency may not rewrite clear statutory terms to suit its

own sense of how the statute should operate,” Util. Air Reg. Grp., 573 U.S. at 328. The States are thus

likely to succeed in invalidating the 2024 Rule.

                      2. The 2024 Rule unlawfully regulates the practice of medicine.

        “[F]rom time immemorial,” the States have maintained primary responsibility for regulating

the medical field through constitutionally reserved powers to protect their citizens’ health and welfare.

Dent v. West Virginia, 129 U.S. 114, 122 (1889); see NFIB v. OSHA, 595 U.S. 109, 121 (2022) (Gorsuch,

J., concurring). So, if Congress “wishes to significantly alter the balance between federal and state

power” to regulate medicine, it must use “exceedingly clear language,” U.S. Forest Serv. v. Cowpasture

River Preservation Ass’n, 590 U.S. 604, 622 (2020), not “muffled hints,” Gonzales v. Oregon, 546 U.S. 243,

274 (2006). But Section 1557—a nondiscrimination provision—does not clearly grant HHS authority

to impose the 2024 Rule’s edicts regulating how covered health entities run their facilities or how

providers care for their patients. Instead, HHS has unlawfully “confer[red] power upon itself,” La.

Pub. Serv. Comm’n, 476 U.S. at 374.

        With no statutory hook whatsoever, the 2024 Rule purports to superintend key aspects of

medical practice while ousting States from their traditional role as regulators of the medical profession

and medical ethics. For example, the rule imposes a de minimis harm standard malleable enough that

providers cannot “refuse to place [a transgender person] in facilities consistent with their gender iden-

tity.” 89 Fed. Reg. at 37,593. In other words, the 2024 Rule prohibits hospitals from maintaining sex-

separated “intimate space[s],” id., preferencing alleged harm to transgender patients over any adverse

impact to those individuals whose intimate spaces have been invaded, and despite Title IX’s explicit

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authorization of sex-separated spaces, 20 U.S.C § 1686. The rule’s lax de minimis harm standard also

risks punishing doctors who decline to give medically unsound care if that refusal causes the patient

“distress.” See Compl. ¶ 257.

       The upshot is that the 2024 Rule imposes a national standard of care for gender dysphoria

without congressional authorization. Id. ¶ 260. It mandates that nearly all doctors nationwide provide

treatments pushed by an international organization recently shown to lack scientific and ethical rigor.

Id. Providers are prohibited from exercising their own reasonable medical judgment about the appro-

priateness and safety of sex-transition procedures generally, nor can they decline to provide sex-tran-

sition procedures based on the experimental nature of those procedures. Id. Instead, the 2024 Rule

would deem doctors guilty of sex discrimination simply for hewing to well-settled and scientifically

grounded understandings about “sex” and the attendant medical consequences. Id. ¶¶ 257-58. And

by chilling providers from engaging in lines of inquiry with patients necessary to provide effective

care, the 2024 Rule also invades the doctor-patient relationship. Id. ¶ 259.

       Making matters worse, the 2024 Rule’s gender-transition mandate purports to nullify contrary

state laws limiting the provision of gender-transition medical interventions to minors. See 89 Fed. Reg.

at 37,535, 37,598. At the same time, the ACA explicitly protects state tort laws from preemption. 42

U.S.C. § 18122(3). This puts providers in an impossible position. If they adhere to their medical

judgment that gender-transition interventions are inappropriate, they will lose HHS funding, but if

they accede to the 2024 Rule’s gender-affirming-care mandates, they open themselves to extensive

malpractice liability. So, providers will be forced to pick their poison: lose HHS funding, or funnel

the funding they receive to a team of civil defense lawyers.

       Nothing in Section 1557 authorizes this “radical shift of authority from the States to the Fed-

eral Government” on what constitutes sound medical practice. Gonzales, 546 U.S. at 275. If anything,

the 2024 Rule contradicts Section 1554 of the ACA, which prohibits HHS from interfering with

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providers’ practice of medicine. Section 1554 bars HHS from adopting any rule that “impede[s] timely

access to health care services”; “interferes with communications regarding a full range of treatment

options between the patient and the provider”; “restricts the ability of health care professionals to

provide full disclosure of all relevant information to patients making health care decisions”; or “vio-

lates the principles of informed consent and the ethical standards of health care professionals.” 42

U.S.C. § 18114(2)-(5). Yet, the 2024 Rule would require providers to cede their reasoned medical

judgment to the controversial positions of gender-transition advocates like WPATH, even if doing so

would mislead patients about the efficacy of these treatments. Compl. ¶¶ 178-88.

        The 2024 Rule cannot permissibly commandeer medical care along HHS’s preferred ideolog-

ical lines. The States are likely to succeed in invalidating the 2024 Rule on this independent basis.

                      3. The Social Security Act does not authorize rules prohibiting disparate
                         impacts on gender identity.

        In addition to purporting to implement Section 1557, the 2024 Rule also amends the standard

contract requirements under Medicaid and CHIP to require prohibiting any policy or practice that has

the “effect of discriminating” based on an individual’s “gender identity.” 89 Fed. Reg. at 37,691.

According to HHS, these changes to the CMS regulations are authorized by the Social Security Act

(“SSA”), another Spending Clause statute. Not so.

        The SSA requires State plans to provide “such methods of administration … as are found by

the Secretary to be necessary for the proper and efficient operation of the plan.” 42 U.S.C.

§ 1396a(a)(4). Nothing in that statute’s plain text supports HHS’s gender-identity rules. The phrase

“methods of administration” surely does not do so. The 2024 Rule’s gender-identity mandates are

nothing like the administrative tasks identified in Section 1396a(a)(4), like setting “personnel stand-

ards,” providing for “utilization of professional medical personnel,” and “ensur[ing] necessary trans-

portation for beneficiaries.” A word is known by the company it keeps, Gustafen v. Alloyd Co., 513 U.S.

561, 575 (1995), and the company of “methods of administration” confirms the absence of statutory
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authority. At minimum, States lacked “clear and unmistakable” notice that HHS could impose its

gender-identity mandate on contractors through language on “methods.” Kentucky v. Yellen, 54 F.4th

325, 354 (6th Cir. 2022).

        Nor does 42 U.S.C. § 1397aa authorize HHS’s gender-identity mandate for CHIP. This pro-

vision merely states that the “purpose of” the CHIP program “is to provide funds to States to enable

them to initiate and expand the provision of child health assistance … in an effective and efficient

manner.” 42 U.S.C. § 1397aa(a). It does not grant HHS rulemaking authority or otherwise support

HHS’s interpretation of “sex” discrimination to include gender identity—certainly not clearly. Adams,

57 F.4th at 815. Nor has HHS articulated how its gender-identity mandates would make the CHIP

program more “effective and efficient.” 42 U.S.C. § 1397aa(a). Logic suggests that added layers of

bureaucracy and disparate-impact requirements have the opposite effect. Because the 2024 Rule’s

interpretations of the relevant provisions contravene the statutory text and bedrock canons of statu-

tory interpretation, it should be declared unlawful and set aside. See 5 U.S.C. § 706(2).

            B. The 2024 Rule is contrary to the Spending Clause.

        The APA requires courts to set aside and vacate agency action that is “contrary to constitu-

tional right, power, privilege, or immunity.” 5 U.S.C. § 706(2)(B). And if Section 1557 allows what

the 2024 Rule says, then there is a serious Spending Clause problem. See U.S. Const. art. I, § 8, cl. 1.

        Spending Clause legislation—like Section 1557—“is much in the nature of a contract: in return

for federal funds, the States agree to comply with federally imposed conditions.” Adams, 57 F.4th at

815 (citation omitted). But “if Congress intends to impose a condition on the grant of federal moneys

[under Spending Clause authority], it must do so unambiguously.” Id. (citation omitted). This “clear-

statement rule” applies with special strength when a federal-funding condition “encroache[s] upon a

traditional state power,” such as the regulation of healthcare. Yellen, 54 F.4th at 354.

        Nowhere in Section 1557, Title IX, the SSA, or anywhere else has Congress set out “clear and

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unmistakable” authorization for HHS to regulate “nondiscrimination” based on gender identity. Id.

Nor does that legislation “unambiguously” condition the grant of federal money on acceptance of the

2024 Rule’s sweeping gender-identity mandates. See Adams, 57 F.4th at 815. Congress did not prohibit

healthcare facilities from maintaining sex-segregated spaces by incorporating Title IX—which explic-

itly permits sex-segregated spaces, see, e.g., 20 U.S.C. § 1686. It did not mandate that the vast majority

of the country’s doctors follow the non-evidence-based WPATH standards. See 42 U.S.C. § 18114

(prohibiting HHS from imposing any such requirement). And it did not command States to abandon

their traditional sovereign authority over the practice of medicine, let alone affirmatively undermine

that authority by subsidizing treatments that a State has determined are harmful. See id. § 18122(1),

(3) (prohibiting HHS from establishing standards of care or preempting “State or common law gov-

erning medical professional … liability actions or claims”).

        HHS’s 2024 Rule itself cannot provide notice to satisfy the Spending Clause clear-statement

rule, as the necessary “clear statement … must come directly from the statute.” Tex. Educ. Agency v.

U.S. Dep’t of Educ., 992 F.3d 350, 361 (5th Cir. 2021). Courts throughout the country have rejected

attempts by the federal government to modify the terms of the Spending Clause “contract” by impos-

ing new obligations on States found nowhere in statutory text. See id.; West Virginia ex rel. Morrisey v.

U.S. Dep’t of Treasury, 59 F.4th 1124, 1147 (11th Cir. 2023); Yellen, 54 F.4th at 353-54.

        In any event, the 2024 Rule separately violates the Spending Clause by placing a “gun to the

head” of the States. NFIB v. Sebelius, 567 U.S. 519, 581 (2012) (plurality opinion). The Supreme Court

has recognized that the Spending Clause prevents Congress from offering a “financial inducement”

that is “so coercive as to pass the point at which ‘pressure turns into compulsion.’” Dole v. South

Dakota, 483 U.S. 203, 211 (1987) (citation omitted). If that anti-coercion limit prevents anything, it

prevents the conditioning of more than $100 billion in federal funding for Plaintiff States—amounts

representing large portions of their overall budgets, see infra p. 23—on their ceding their longstanding

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power to regulate permissible medical procedures and, indeed, facilitating controversial treatments

causing proven, life-long harms. See NFIB, 567 U.S. at 581 (plurality opinion).

             C. The 2024 Rule is arbitrary and capricious.

        The 2024 Rule is also “arbitrary” and “capricious” on several grounds. 5 U.S.C. § 706(2)(A);

see Compl. ¶¶ 279-85. Chief among them: HHS failed to adequately consider—or offer a reasoned

explanation addressing—the reality that their rule would prevent healthcare professionals from using

their reasonable medical judgment to treat patients, undermining the provision of sound medical treat-

ment on a wide scale. Without explanation, HHS pivoted from its prior position that preferencing

ideology over science “risk[s] masking clinically relevant, and sometimes vitally important, infor-

mation.” 85 Fed. Reg. 37,160, 37,189-90 (June 19, 2020). It now mandates that medical professionals

embrace the WPATH Standards and Endocrine Society Guideline. See NPRM, 87 Fed. Reg. at 47,868

& n.423. And it does so without “respond[ing] to significant comments” pointing out that these

standards rest on weak evidence, Perez v. Mortg. Bankers Ass’n, 575 U.S. 92, 96 (2015); see Compl. ¶ 173

(collecting comments), without acknowledging the lack of medical consensus on gender-transition

interventions or side-effects associated therewith, Compl. ¶¶ 87-104, and without addressing the po-

tential tort liability that healthcare providers face for following unproven standards, 42 U.S.C. §

18122(3) (stating that malpractice claims not preempted). This is exactly the type of arbitrary decision-

making that the APA protects against. Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463

U.S. 29, 43 (1983).

II.     Plaintiffs Will Be Irreparably Harmed Absent Injunctive Relief.

        Without immediate intervention, HHS’s 2024 Rule will inflict significant irreparable harm on

the Plaintiff States, their medical providers, and their citizens.3 First, the States will suffer the


3 The Complaint includes paragraphs specific to each of the Plaintiff States.See generally ECF 1 ¶¶ 106-36, 199-
232. To offer additional details about the irreparable harm the Plaintiff States are likely to suffer, nine States
have submitted declarations. See Exhibits A-J.
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“irreparable harm of nonrecoverable compliance costs.” R.J. Reynolds Vapor Co. v. FDA, 65 F.4th 182,

194 (5th Cir. 2023) (citation omitted). States will need to expend significant financial and personnel

resources to comply with HHS’s mandates. See Stephen Smith Decl. ¶¶ 13-14 (Ex. A); Cody Smith

Decl. ¶¶ 11-12 (Ex. B); Kimberly Sullivan Decl. ¶¶ 12-13 (Ex. C); Jeremy Brunssen Decl. ¶¶13-14

(Ex. D). The 2024 Rule acknowledges as much. See 89 Fed. Reg. at 37,679-82 (estimating hundreds

of millions of dollars in costs to revise policies and procedures, train employees, and implement rec-

ord-keeping requirements); see also Compl. ¶¶ 200-01. And HHS’s sovereign immunity guarantees

that Plaintiffs could not later recover those costs, even if the Rule is held unlawful.

         Second, the 2024 Rule derogates the States’ sovereign interests in enforcing their duly enacted

 laws and regulations. See Texas v. Becerra, 577 F. Supp. 3d 527, 557 (N.D. Tex. 2021); see also Cameron

 v. EMW Women’s Surgical Ctr., P.S.C., 595 U.S. 267, 277 (2022) (describing the power to enforce state

 laws as “[p]aramount among the States’ retained sovereign powers”). For instance, many of the

 Plaintiff States have adopted laws prohibiting healthcare providers from offering gender-transition

 interventions to minors. Compl. ¶¶ 107-09, 117-18, 126, 128, 130-36. Many of the Plaintiff States

 have also declined to cover certain gender-transition interventions through their Medicaid, CHIP, or

 state-employee health programs. Id. ¶¶ 112-13, 116, 121-26, 129, 132-35. Compliance with the 2024

 Rule would “prevent[] the State[s] from effectuating the[ir] Legislature[s’] choice[s] and hence im-

 pose[] irreparable injury.” Valentine v. Collier, 956 F.3d 797, 803 (5th Cir. 2020)

        Third, enforcement of the 2024 Rule threatens to collectively strip Plaintiff States of more

than $100 billion in federal funds and to impose substantial penalties through private suits. Id. ¶¶ 206-

11. The 2024 Rule makes clear that its gender-identity mandates and other provisions displace con-

trary state policies. 89 Fed. Reg. at 37,667-68. Because the Plaintiffs have conflicting policies, they

face funding losses that endanger important health programs serving some of their most vulnerable

residents. As one example, Tennessee annually receives more than $10 billion in HHS funding to

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administer its Medicaid and CHIP programs, which collectively serve nearly 1.5 million Tennesseans,

including low-income individuals, pregnant women, children, caretaker relatives of young children,

older adults, and the disabled. S. Smith Decl. ¶¶ 4-7. But Tennessee’s Medicaid and CHIP programs

do not cover gender-transition surgeries. Id. ¶¶ 9-10. Tennessee thus faces a credible threat that HHS

will enforce the 2024 Rule against it and terminate its federal funding for those programs, not to

mention the State’s exposure to civil liability under Section 1557’s private right of action. The same

goes for Mississippi and the other Plaintiff States. See, e.g., C. Smith Decl. ¶¶4-8; Brunssen Decl. ¶¶

4-7, 16; Roberts Decl. ¶¶ 5-6, 8-9; Steven Voigt Decl. ¶¶ 5-7 (Ex. F); Robert Kerr Decl. ¶¶ 5-8, 10-11

(Ex. G); Wanda Davis Decl. ¶¶ 5-7 (Ex. H); Matthew Althoff Decl. ¶¶ 9-10 (Ex. I); Stephanie Azar

Decl. ¶¶ 4-8 (Ex. J).

        Fourth, the 2024 Rule’s mandate that health insurers cover gender-transition drugs and surger-

ies will inevitably result in increased costs for Plaintiff States’ health plans. In addition to puberty

blockers and cross-sex hormones, WPATH lists a non-exhaustive suite of “medically necessary” so-

called “gender-affirming surgical procedures”—like facelifts, lip augmentation, and hair removal. See

Compl. ¶¶ 213-14 (citing WPATH 8 at S110, S258 App’x E). The cost of covering these treatments

would be significant. See id. ¶¶ 215-27; see, e.g., S. Smith Decl. ¶ 15; C. Smith Decl. ¶ 13; Sullivan Decl.

¶ 14; Brunssen Decl. ¶ 16; Roberts Decl. ¶ 11-12; Kerr Decl. ¶ 11; Davis Decl. ¶¶ 11; Althoff Decl. ¶

14; Azar Decl. ¶ 10. Thus, the 2024 Rule’s gender-transition mandate will have a “substantial” fiscal

effect that Plaintiffs cannot later recover. 89 Fed. Reg. at 37,683.

         Finally, the 2024 Rule will subject some of the Plaintiff States’ most vulnerable citizens to a

 gender-transition protocol that will leave them with irreversible side effects—including steriliza-

 tion—and life-long health risks. Compl. ¶¶ 228-32. The latest systematic review of the available

 research confirms the lack of quality evidence regarding the efficacy of medical gender transition,

 particularly for minors. See id. ¶ 229. The harm from gender-transition interventions, however, is

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 evident. See Compl. ¶¶ 87-104. That adolescents often “lack the capacity to consent to such a

 significant and potentially irreversible treatment” amplifies these concerns. L.W., 83 F.4th at 488.

 With increasing frequency, detransitioners have come forward lamenting the harmful effects of these

 interventions and their regret for undergoing them. Id. at 487.

III.    The Balance of Equities and Public Interest Both Favor Preliminary Relief.

         Preliminary relief will not harm HHS or the public interest. A stay will merely “maintain[]

 the status quo while the court considers the issue.” Texas v. United States, 787 F.3d 733, 768 (5th Cir.

 2015). HHS will be able to continue enforcing Section 1557 to prevent actual “sex” discrimination,

 as well as prohibited discrimination based on race, disability, national origin, and age. It simply will

 not be able to enforce the misreading of Section 1557 embodied by the 2024 Rule.

        “Any interest [the government] may claim in enforcing an unlawful [rule] is illegitimate.” BST

Holdings v. OSHA, 17 F.4th 604, 618 (5th Cir. 2021). Indeed, “our system does not permit agencies

to act unlawfully even in pursuit of desirable ends.” Ala. Ass’n of Realtors v. HHS, 594 U.S. 758, 766

(2021). Instead, the public interest lies in a correct application of the law. See Freedom from Religion

Found., Inc. v. Mack, 4 F.4th 306, 317 (5th Cir. 2021). And “[e]nforcing the Spending Clause’s limita-

tions” further advances the public interest by “help[ing] preserve state sovereignty and the ‘two-gov-

ernment system establish by the Framers.’” West Virginia, 59 F.4th at 1149 (citation omitted).

        More still, the public has overwhelming interests in protecting youth and other vulnerable

citizens from unproven and often harmful gender-transition interventions, preventing limited state

resources from being used to fund them, and continuing to enforce State laws that reflect the will of

the people without risking the loss of significant federal funding and exposure to civil liability. Pre-

liminary relief would advance each of those interests.

                                           CONCLUSION

        This Court should grant Plaintiff States’ motion for a § 705 stay and a preliminary injunction.

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Date: June 13, 2024.                          Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 13, 2024, a true and correct copy of the foregoing document was
served via the Court’s electronic filing system, which sent notice of filing to all counsel of record.


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